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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA                                                     CRIMINAL ACTION

 VERSUS                                                                       NO. 14-153

 AKARI WILLIAMS, ET AL.                                                       SECTION: “E” (4)


                                     ORDER AND REASONS

        On October 24, 2016, the Government filed its notice of intent to use evidence. 1 On

October 31, 2016, Defendant Phillips Thompson filed an opposition to the Government’s

notice of intent. 2 On November 3, 2016, the Government filed a reply memorandum in

support of its notice of intent. 3 The Court will treat Defendant Thompson’s opposition as

a motion in limine. 4

        For the reasons that follow, Defendant Thompson’s motion in limine is

GRANTED IN PART and DENIED IN PART.

                                           BACKGROUND

        The Government provided notice of its intent to present bank records and tax

records from approximately 2012 through 2016 that will show how Defendants

Thompson and Williams transferred money, concealed transactions and concealed profits

in furtherance of the conspiracy. The Government contends this evidence is intrinsic to

the charged conduct as it shows evidence of the conspiracy – the breadth of its

membership and scope, how the Defendants paid for the drugs, how they profited, and




1 R. Doc. 163.
2 R. Doc. 174.
3 R. Doc. 191.
4 See, e.g. United States v. Nunez et al., 2016 WL 3746573, at *1 (E.D. La. Jul. 8, 2014) (in which the court

treated the defendant’s opposition to the government’s notice of intent as a motion in limine).

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how they concealed the profits and deposits with the accounts of third parties, all of which

is direct evidence of the drug trafficking conspiracy itself.

        In addition, the Government provided notice of its intent to present witness

testimony establishing Defendants Thompson and Williams have known each other for

an extended period of time. The Government has notified the Defendants that its

witnesses will testify as to previous dealing in illicit drugs with the Defendants prior to

2013. The Government contends this evidence is also intrinsic because the cooperating

witnesses will provide important background information and context and will help the

jurors understand this conduct was not an accident and developed over a course of time.

        While the Government maintains the financial records and witness testimony

described above are intrinsic to the charged conspiracy, the Government alternatively

argues this evidence is permissible extrinsic evidence under Federal Rule of Evidence

404(b) as it is probative of the Defendants’ knowledge, intent and modus operandi.

                                       STANDARD OF LAW

        “Evidence of an uncharged offense arising out of the same transactions as the

offense charged in the indictment is not extrinsic evidence within the meaning of Rule

404(b).” 5 Generally, evidence of other acts is intrinsic “when the evidence of the other act

and the evidence of the crime charged are ‘inextricably intertwined; or both acts are part

of a ‘single criminal episode’ or the other acts were ‘necessary preliminaries’ to the crime

charged.” 6 The Fifth Circuit has explained, “It is well established that where a conspiracy

is charged, acts that are not alleged in the indictment may be admissible as part of the




5 United States v. Maceo, 947 F.2d 1191, 1199 (5th Cir. 1991).
6 United States v. Freeman, 434 F.3d 369, 374 (5th Cir. 2005) (quoting United States v. Williams, 900

F.2d 823, 825 (5th Cir. 1990)).

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Government’s proof.” 7 “Evidence is intrinsic to a conspiracy if it is relevant to establish

how the conspiracy came about, how it was structured, and how the [defendant] became

a member.” 8 “This evidence is admissible to complete the story of the crime by proving

the immediate context of events in time and place.” 9 “Intrinsic evidence does not

implicate Rule 404(b), and ‘consideration of its admissibility pursuant to Rule 404(b) is

unnecessary.’” 10

          Federal Rule of Evidence 404(b) governs the introduction of extrinsic evidence.

Under Federal Rule of Evidence 404(b), “[e]vidence of other crimes, wrongs, or acts is

not admissible to prove the character of a person in order to show action in conformity

therewith. It may, however, be admissible for other purposes, such as proof of motive,

opportunity, intent, preparation, plan, knowledge, identity, or absence of mistake or

accident.” 11

          In order to be admissible under Rule 404(b), the evidence in question must satisfy

the two-prong analysis articulated in United States v. Beechum. 12 “First, it must be

determined that the extrinsic offense evidence is relevant to an issue other than the

defendant’s character.” 13 As a threshold matter, the relevancy of extrinsic act evidence is

conditioned on whether the defendant, in fact, committed the extrinsic act. 14 Rule 104(b)

of the Federal Rules of Evidence states: “When the relevance of evidence depends on

whether a fact exists, proof must be introduced sufficient to support a finding that the fact



7 United States v. Watkins, 591 F.3d 780, 785 (5th Cir. 2009).
8 Id. at 784 (citing United States v. Nichols, 750 F.2d 1260, 1265 (5th Cir. 1985)).
9 United States v. Coleman, 71 F.3d 154, 156 (5th Cir. 1996).
10 Id. (quoting United States v. Garcia, 27 F.3d 1009, 1014 (5th Cir.), cert. denied, 513 U.S. 1009 (1994)).
11 FED. R. EVID. 404(b).
12 United States v. Beechum, 582 F.2d 898, 911 (5th Cir. 1978) (en banc).
13 Id.
14 Id. at 912. See also U.S. v. Gutierrez-Mendez, 752 F.3d 418, 423 (5th Cir.) cert. denied, 135 S. Ct. 298

(2014).

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does exist. The court may admit the proposed evidence on the condition that the proof be

introduced later.” 15 “Therefore, as a predicate to a determination that the extrinsic offense

is relevant, the Government must offer proof demonstrating that the defendant

committed the offense. If the proof is insufficient, the judge must exclude the evidence

because it is irrelevant” under Rule 104(b). 16

         When “determin[ing] whether there is sufficient evidence for the jury to find the

defendant in fact committed the extrinsic offense[,] . . . [t]he judge need not be convinced

beyond a reasonable doubt that the defendant committed the extrinsic offense,” and the

Government need not “come forward with clear and convincing proof.” 17 Rather, the

standard for the admissibility of extrinsic offense evidence is whether there is evidence

sufficient to permit a reasonable jury to find the preliminary facts by a preponderance of

the evidence. 18

         Once this threshold is met, the Court must look at other indicia of relevance. When

determining whether extrinsic act evidence is relevant to an issue other than the

defendant’s character, as required to be admissible under 404(b), “relevance is a function

of [the extrinsic offense’s] similarity to the offense charged.” 19 “[S]imilarity means more

than that the extrinsic and charged offense have a common characteristic”—the common

characteristic must be “the significant one for the purpose of the inquiry at hand.” 20

         The second step of the Beechum test is that “the evidence must possess probative

value that is not substantially outweighed by its undue prejudice and must meet the other


15 FED. R. EVID. 104(b).
16 Beechum, 582 F.2d at 912–13; Gutierrez-Mendez, 752 F.3d at 423.
17 582 F.2d at 913.
18 Id; U.S. v. Anderson, 933 F.2d 1261, 1269 (5th Cir. 1991) (citing Huddleston v. U.S., 485 U.S. 681, 688–

90 (1988)).
19 Id.
20 Id. (internal quotation marks and citation omitted).


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requirements of rule 403.” 21 “The task for the court in its ascertainment of probative value

and unfair prejudice under rule 403 calls for a commonsense assessment of all the

circumstances surrounding the extrinsic offense.” 22 “Some of the factors [a court] must

consider include: (1) the extent to which the defendant’s unlawful intent is established by

other evidence; (2) the overall similarity of the extrinsic and charged offenses; and (3)

how much time separates the extrinsic and charged offenses because temporal

remoteness depreciates the probity of the extrinsic offense.” 23

                                            DISCUSSION

    I.           Bank Records and Tax Returns from 2012 to 2016

         The Government argues financial evidence, consisting of bank records and tax

returns from 2012 to 2016, is intrinsic evidence because it is inextricably intertwined into

the charged conspiracy. 24 Defendant Thompson argues the financial evidence the

Government seeks to introduce is extrinsic to the charged conspiracy. 25 First, Defendant

Thompson argues, “In essence, the Government concedes that the evidence it intends to

introduce here is not part of the conspiracy itself.”26 Thompson argues the conspiracy

charged is principally based from May 2013 until the time of the indictment in February

2015 and therefore, he “requests at a minimum that the Government be limited to

introducing financial transactions that occurred within a reasonable time period of the

shipped package on May 27, 2014.” 27


21 582 F.2d at 911.
22 Id. at 914.
23 United States v. Adair, 436 F.3d 520, 525 (5th Cir. 2006) (quoting Beechum, 582 F.2d at 915) (internal

quotations omitted).
24 R. Doc. 163, at 4.
25 R. Doc. 174, at 1.
26 Id. (citing R. Doc. 163, at 5). It appears Defendant Thompson believes the Government has conceded

this point in its stating that the records provide “background of the conspiracy” and because some of the
records fall outside the period charged in the indictment.
27 R. Doc. 174, at 4.


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         As the Fifth Circuit has explained, “We have held before that the government is not

limited to overt acts pleaded in proving a conspiracy. It may show other acts of the

conspirators occurring during the life of the conspiracy.” 28 In United States v. Powers,

the Fifth Circuit upheld the introduction of transactions not alleged in the indictment as

intrinsic evidence after finding the “transactions tend to show the conspiratorial

relationship between [co-conspirators] during the life of the conspiracy.” 29 In addition, in

United States v. Lorenzana-Cordon, the court explained, “The financing of drug

transactions and the movement of money constitute overt acts performed

contemporaneously with, and directly in furtherance of, the charged [cocaine

importation] conspiracy.” 30

         The Court finds that the bank and tax records from the time period of the charged

conspiracy are intrinsic evidence as they are inextricably intertwined and show the

conspiratorial relationship between the co-conspirators during the life of the conspiracy.

As explained above, the Fifth Circuit has reiterated “evidence of how the conspiracy came

about, how it was structured, and how the [defendant] became a member is intrinsic

evidence to the charged conduct.” 31 The Government has sufficiently alleged the financial

records will demonstrate “how the [D]efendants paid for methamphetamine, how they

profited from it, and how they concealed their actions from detection of law

enforcement.” 32 Furthermore, the Court finds the evidence of bank and tax records from

the time period of the charged conspiracy also is intrinsic as it demonstrates how the

conspiracy itself was structured. The Defendant Thompson’s motion in limine is


28 United States v. Quesada, 512 F.2d 1043, 1046 (5th Cir. 1975).
29 United States v. Powers, 168 F.3d 741, 749 (5th Cir. 1999).
30 141 F. Supp. 3d 35, 45 (D.D.C. 2015).
31 Watkins, 591 F.3d 784 (citing Nichols, 750 F.2d at 1265).
32 R. Doc. 163, at 2.


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DENIED to the extent that it seeks to exclude bank and tax records during the time

period between May 1, 2013 and February 27, 2015 as these records are intrinsic

evidence. 33

        The Court finds the bank and tax records outside of this charged period are

extrinsic and therefore subject to Rule 404(b) and the two-prong Beechum test. With

respect to the first prong required by Beechum, the Court finds the Government has not

satisfied its burden by clearly articulating how the proposed 404(b) evidence is relevant

to the charged conduct. 34 As explained in Brown:

        It is not enough for the Government to merely identify a valid non-
        propensity purpose under Rule 404(b)(2). Crucially, the Government must
        also show that the evidence is relevant to that purpose. To do so, the
        prosecution ‘must clearly articulate how that evidence fits into a chain of
        logical inferences, no link of which can be the inference that because the
        defendant committed the proffered prior offense, he therefore is more likely
        to have committed the charge offense. 35
The Government argues the bank and tax records from during the conspiracy will

demonstrate the breadth of its membership and scope, how the Defendants paid for the

drugs, how they profited, and how they concealed the profits and deposits with the

accounts of third parties. The Government has not, however, clearly explained how bank

and tax records from before or after the conspiracy are inextricably intertwined with the

charged conduct. The Government also has not clearly explained how bank and tax

records outside of the time period of the conspiracy are relevant to an issue other than the




33 In its reply memorandum in support of its notice of intent, the Government states the indictment

returned by the grand jury charges a conspiracy over a period of time from May 1, 2013 through February
27, 2015. R. Doc. 191, at 1 (citing R. Doc. 36, at 1).
34 See United States v. Brown, 765 F.3d 278 (3d Cir. 2014). The Third Circuit employs an almost identical

test to the Fifth Circuit’s requirements for admitting 404(b) evidence first articulated in Beechum. See id.
at 291.
35 Id. at 292-93 (internal citations omitted).


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defendant’s character. Therefore, the Government has not sufficiently demonstrated how

this evidence satisfies the first prong of the Beechum analysis.

          The evidence in question also fails to satisfy the second prong of the Beechum

analysis which requires the Court to determine whether the probative value of the

extrinsic evidence is substantially outweighed by its prejudicial effect. 36 As the Fifth

Circuit explained in United States v. Kinchen, one of the factors determining whether the

prejudicial effect of the extrinsic evidence substantially outweighs its probative value is

the Government’s need for the extrinsic evidence. 37 Although the burden on the

Government to demonstrate intent is substantial, the Government has not adequately

demonstrated a need for the introduction of extrinsic bank and tax records. As a result,

the Court finds that with respect to tax and bank records from periods outside the charged

conspiracy, Defendant Thompson’s motion is GRANTED. The Government may not be

introduce tax and bank records from before or after the period between May 1, 2013 and

February 27, 2015. Otherwise, Defendant Thompson’s motion is DENIED.

    II.      Cooperating Witness Testimony

          The Government argues testimony of two cooperating witnesses should be

permitted as intrinsic evidence. Specifically, the Government argues the cooperating

witnesses will testify as to prior drug deals they have participated in with Defendants

Thompson and Williams and related information. The Government represents the first

cooperating       witness   will   testify    he   has    knowledge       Williams     began     selling

methamphetamine in 2013, that Williams began selling cocaine as early as 2009, that


36 582 F.2d at 911.
37 729 F.3d 466, 473 (citing United States v. Sanchez, 988 F.2d 1384, 1394 (5th Cir. 1993)). See also

Beechum, 582 F.2d at 914 (The probative value of extrinsic evidence may be measured whether and to
what extent the accused’s motive, intent or other characteristic “is established by other evidence,
stipulation, or inference.”).

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Williams received packages from California and Thompson was involved in the

conspiracy. The second cooperating witness will also testify Thompson sold drugs for

approximately 20 years, Thompson first began by selling cocaine and then transitioned

to crack cocaine and methamphetamine and Williams continued to deal cocaine through

approximately the summer of 2013, at which time he transitioned to methamphetamine.

The second cooperating witness will testify that Williams and Thompson began selling

methamphetamine after it became a popular drug in Houma, Louisiana around 2013.

Defendant Thompson argues this proposed testimony is extrinsic to the charged conduct

and should be excluded as it fails to meet the requirements of Rule 404(b) as set out in

the two-step Beechum test.

      To the extent the Government’s cooperating witnesses will testify based on

personal knowledge regarding methamphetamine drug sales by the Defendants during

the conspiracy, the Court finds this testimony is intrinsic to the charged conspiracy. In

addition, the witnesses’ testimony regarding firsthand knowledge of packages containing

methamphetamine shipped to Louisiana from California during the conspiracy is also

intrinsic to the charged conspiracy.

      The Court finds the cooperating witnesses’ testimony regarding alleged previous

drug transactions with Thompson and Williams prior to or after the conspiracy is extrinsic

to the charged conspiracy. While the Fifth Circuit has upheld the introduction of evidence

of drug transactions prior to the charged conspiracy as intrinsic evidence, the

circumstances under which the Fifth Circuit has found such testimony to be intrinsic are

distinguishable from the case currently before this Court. For example, a number of cases

cite United States v. Wilson for the proposition that evidence of a drug transaction that

was not part of the crime charged may nonetheless be admissible as intrinsic evidence

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because it is “part of the background facts surrounding the commission of the crime.” 38

In Wilson, however, the prior drug transaction had taken place between the witness, who

was also the purchaser during the illicit sale discussed in the indictment, and the

defendant. The Fifth Circuit, after heavily criticizing the prosecutor for attempting to

bring in this prior evidence, found no reversible error because the evidence was

introduced “merely to complete [the witness’s] account of his dealings with [the

defendant].” 39 In essence, the prior drug transaction demonstrated the witness, who was

also the purchaser of the drugs in the charged conduct, and the defendant had an ongoing

transactional relationship and that the witness expected the defendant would in fact sell

him the drugs in question.

        The Fifth Circuit also addressed the introduction of witness testimony regarding

prior drug deals with the defendant in United States v. Miranda. 40 In Miranda, the

district court allowed the introduction of this evidence in as intrinsic evidence, or, in the

alternative, as extrinsic evidence to demonstrate intent under 404(b). The Fifth Circuit

found the defendant on appeal focused “solely on whether the testimony [in question

could] withstand a Beechum analysis. The Miranda court, citing United States v. Aleman,

explained, “We conclude that the district court did not abuse its discretion in viewing [the

witness’] testimony about her earlier drug purchases from [the defendant] as background

information establishing the connection between a witness and a defendant. 41 The Court

finds the Miranda court’s citation of Aleman instructive. In Aleman, the Fifth Circuit

found a witness’ testimony concerning a cocaine transaction to be intrinsic evidence in a


38 See, e.g., United States v. Miranda, 248 F.3d 434, 440 (5th Cir. 2001)(quoting United States v. Wilson,

578 F.2d 67, 72 (5th Cir. 1972)).
39 Wilson, 248 F.2d at 72.
40 248 F.3d at 440.
41 Id. (citing United States v. Aleman, 592 F.2d 881, 884 (5th Cir. 1979).


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case where the defendant was charged as part of a conspiracy to possess heroine with the

intent to distribute. 42 In Aleman, however, the Fifth Circuit found, “The cocaine

transaction objected to here was an integral part of the crucial meeting between [the

witness] and [the defendant].” 43 In fact, the witness and the defendant had only originally

met with the purpose of discussing a cocaine purchase. 44 It was only at this meeting where

the defendant mentioned a heroin transaction and also distributed the cocaine. 45

         The nexus described between the prior drug transactions and the charged

conspiracy in Wilson, Miranda and Aleman is not found in the case currently before this

Court. The testimony regarding prior drug sales by the Defendants to the Government’s

witnesses appear to be factually unconnected to the conspiracy charged in the

superseding indictment. As a result, the Court finds the proposed testimony by the

cooperating witnesses regarding drug transactions prior to and after the conspiracy is

extrinsic to the conduct charged in the superseding indictment.

         As the prior drug transactions in this case are extrinsic, the Court must apply the

two-step Beechum test in order to determine whether the evidence satisfies Rule 404(b)

of the Federal Rules of Evidence. With respect to the first prong of the Beechum test, the

Government asserts the testimony of the cooperating witnesses will be useful to the jury

in evaluating the intent, knowledge, and the plan or modus operandi of Defendants

Thompson and Williams. 46 “In the context of a conspiracy case, the mere entry of a not

guilty plea sufficiently raises the issue of intent to justify the admissibility of extrinsic




42 Aleman, 592, F.2d at 884.
43 Id.
44 Id. at 883.
45 See id.
46 R. Doc. 163, at 12.


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offense evidence.” 47 The Fifth Circuit has also “repeatedly held . . . that a prior drug

transaction is relevant to intent in a drug conspiracy case.” 48 As part of this analysis, the

Government must also put forth evidence that the Defendant(s) did in fact commit the

extrinsic offense. 49 In Osorio, however, the Fifth Circuit has explained:

        Although a preliminary judicial finding under Rule 104(a) that the extrinsic
        act occurred is not required, relevancy does command the proponent of
        404(b) testimony to tender sufficient proof to permit a reasonable jury to
        find the existence of the conduct by a preponderance of the evidence. The
        standard of proof of such preliminary facts is “relatively light.” 50

As the Fifth Circuit has routinely allowed the government to introduce evidence of

extrinsic prior drug transactions, the Court finds that the Government has satisfied its

burden in demonstrating the testimony made by its cooperating witnesses will satisfy the

first prong of the Beechum test.

        With respect to the second prong of the Beechum test, this Court recognizes that

“The purpose of Rule 404(b) is to guard against the inherent danger that the admission

of ‘other acts’ evidence might lead a jury to convict a defendant not of the charged offense,

but instead of an extrinsic offense. Where the extrinsic activity did not result in a

conviction, this danger is particularly great.” 51 While the evidence the Government seeks

to introduce clearly involves extrinsic conduct that did not result in a conviction, the Court

finds that such testimony is not unduly prejudicial under Federal Rule of Evidence 403.

As explained above, courts within this circuit have frequently allowed the introduction of

similar extrinsic evidence after a complete evaluation under Beechum. As the testimony




47 United States v. Gordon, 780 F.2d 1165, 1174 (5th Cir. 1986).
48 United States v. Osorio, 288 F.App’x 971, 975 (5th Cir. 2008).
49 Beechum, 582 F.2d at 912–13; Gutierrez-Mendez, 752 F.3d at 423.
50 288 F.App’x at 975 (internal citations omitted).
51 United States v. Crawley, 533 F.3d 349, 353 (5th Cir. 2008).


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in question satisfies both prongs of Beechum, the Government may call its witnesses to

testify as to their previous drug transactions with the Defendants.

        With respect to the other testimony the government wishes the cooperating

witnesses to give, when Thompson began selling cocaine, how long Thompson has sold

drugs, and Thompson’s transition from cocaine to methamphetamine is excluded as not

being intrinsic and not meeting the requirements of the Beechum test.

        Accordingly, the Defendant Thompson’s motion in limine with respect to the

cooperating witnesses is DENIED in part and GRANTED in part.



                                           CONCLUSION

        IT IS ORDERED that the Defendant Thompson’s motion in limine 52 is

GRANTED IN PART and DENIED IN PART. With respect to the bank and tax

records, the Government may introduce only records from the time period of the

conspiracy. 53 With respect to the testimony of the cooperating witnesses, the Government

may introduce testimony reflecting any methamphetamine drug transactions during the

time period of the conspiracy as intrinsic evidence. The Government may introduce

testimony regarding the cooperating witnesses’ firsthand knowledge of packages of

methamphetamine that were shipped from California during the time period of the

conspiracy as intrinsic evidence. The Government also may introduce testimony

regarding drugs purchased by the cooperating witnesses from the Defendants prior to or

after the time period of the conspiracy as extrinsic evidence under Rule 404(b).




52 R. Doc. 163.
53 The time period of the charged conspiracy is defined as May 1, 2013 to February 27, 2015.


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Otherwise, the cooperating witnesses’ testimony is excluded as not being intrinsic and not

meeting the requirements of the Beechum analysis.

      New Orleans, Louisiana, this 6th day of November, 2016.


                     ___________   ______ __________
                              SUSIE MORGAN
                       UNITED STATES DISTRICT JUDGE




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